jCaSe 1'04 cr 10061-.]DT Document 143 Filed 05/20/05 Page 1 of 3 Page|D 157

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IN THE UNITED STATES DISTRICT COURT 05 fm
FOR THE WESTERN DISTRICT OF TENNESSEE

 
 

   

 

EASTERN DIVISION
UNITED sTATEs oF AMER]CA, )
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Plaintiff, )
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V ) Cr. No. 04-10061
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COMES NOW, the United States of America, by and thr gh the undersigned Assistant

United States Attorney, Jerry R. Kitchen, and moves this Ho rable Court for a continuance of the

_ sentencing date and Would state as follows:

Currently, this case is set for sentenc' on May 24, 2005. From May 24, 2005 to May 27,

as he requires ditional time to review the presentence investigation report With this client.

WH REFORE, premises considered, the United States and defense counsel request a

continuanc of thirty (3 0) in order to allow the undersigned to attend MtlBng' SSN\ UGWAWD

mmmntmemdonihedockehheet heetlnoom nance DATE

with nolo ss and/or 32(b) FHC'P °" W M 03

`_f {/ James D. Todd
US. District Judge

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and to allow defense counsel additional time to confer with his client

Respectfully submitted,

TERRELL L. HARRIS
United States Attorney

 

Assistant United States Attorney

109 South Highland Avenue, Suite 300
Jackson, Tennessee 38301

(731) 422-6220

CERT[FICATE OF SERVICE
l, JERRY R. KITCHEN, do hereby certify that l have this date delivered a true and exact
copy ortho foregoing motion to Mr. Mouhow M. Maddox, Po Box 827, Huntingdon, TN 33344
JERRY R. ‘KI'TCHEN" ‘ - "_ ’
Assistant United States Attorney

  
 
  

This the day of May 18, 2005.

SDISTRICT COURT - WESERTN DTRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 143 in
case 1:04-CR-10061 was distributed by faX, mail, or direct printing on
May 20, 2005 to the parties listed.

 

 

Jerry R. Kitchen

U.S. ATTORNEY
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Matthew M. Maddox

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P.O. Box 827

Huntingdon, TN 38344

Honorable J ames Todd
US DISTRICT COURT

